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Exhibit A
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UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

No, 22-1587

COMMONWEALTH OF PENNSYLVANIA,
PENNSYLVANIA GAME COMMISSION,
Appellant

Vv.
THOMAS E. PROCTOR HEIRS TRUST, under Declaration of Trust dated
October 28, 1980, which is recorded in Sullivan County in Book 1106,
at page 879, its successors and assigns
(M.D. Pa. No. 1-12-cv-01567)
Present: JORDAN, PHIPPS and ROTH, Circuit Judges
1. Joint Motion filed by Appellee Thomas E Proctor Heirs Trust to lift stay,
requesting Certification of State Law to Pennsylvania Supreme Court

pursuant to Third Circuit LAR Misc. 110.

Respectfully,
Clerk/JK

ORDER.

 

 

The parties’ Joint Motion to lift the stay requesting Certification of State Law to
the Pennsylvania Supreme Court (D.I. 60) is hereby GRANTED. The Court’s March 28,
2023, order (D.I. 59) in hereby VACATED. Our certification of a question of state law
to the Supreme Court of Pennsylvania, pursuant to Local Appellate Rule 110.1, will
follow.

By the Court,

s/ Kent A. Jordan
Circuit Judge

Dated: May 1, 2023
JK/cc: All Counsel of Record
